
41 So.3d 769 (2010)
Noble Winstead YEAGER
v.
Betty Jane WINSTEAD, as personal representative of the estate of Robert Earl Winstead, Jr.
2060583.
Court of Civil Appeals of Alabama.
January 29, 2010.
*770 Laurie A. Brantley of Espy, Nettles, Scogin &amp; Brantley, P.C., Tuscaloosa, for appellant.
A. Courtney Crowder of Phelps, Jenkins, Gibson &amp; Fowler, LLP, Tuscaloosa, for appellee.

After Remand from the Alabama Supreme Court
PER CURIAM.
The prior judgment of this court has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte Winstead, [Ms. 1071601, December 4, 2009] 41 So.3d 762 (Ala.2009). On remand to this court, and in compliance with the Supreme Court's opinion, the judgment of the trial court is hereby affirmed.
AFFIRMED.
All the judges concur.
